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                     EXHIBIT A



               Proposed Interim Order
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                     IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

MARINER HEALTH CENTRAL, INC., et al.,1                  Case No. 22- 10877 (       )

                Debtors.                                (Joint Administration Requested)


INTERIM ORDER (I) DETERMINING ADEQUATE ASSURANCE OF PAYMENT FOR
  FUTURE UTILITY SERVICES, (II) PROHIBITING UTILITY PROVIDERS FROM
     ALTERING, REFUSING, OR DISCONTINUING UTILITY SERVICES, (III)
ESTABLISHING PROCEDURES FOR DETERMINING ADEQUATE ASSURANCE OF
 PAYMENT, (IV) REQUIRING UTILITY PROVIDERS TO RETURN DEPOSITS FOR
 UTILITY SERVICES NO LONGER IN USE, AND (V) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”) (a) approving the

Debtors’ Proposed Adequate Assurance, (b) prohibiting Utility Providers from altering, refusing,

or discontinuing services, (c) approving the Debtors’ proposed procedures for resolving any

Additional Assurance Requests, (d) requiring Utility Providers to return deposits for Utility

Services no longer in use, (e) scheduling a final hearing to consider approval of the Motion on a

final basis, and (f) granting related relief, all as more fully set forth in the Motion; and upon the

First Day Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§

157 and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012; and this Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of these




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    The Debtors, along with the last four digits of each Debtors’ tax identification number, are Mariner
    Health Central, Inc. (6203), Parkview Holding Company GP, LLC (1536), and Parkview Operating
    Company, LP (7273). The Debtors’ headquarters are located at 3060 Mercer University Drive, Suite
    200, Atlanta, GA 30341.
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    Capitalized terms used and not defined herein have the meanings ascribed in the Motion.
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proceedings and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on

the Motion were appropriate under the circumstances and no other notice need be provided, except

as set forth herein; and this Court having reviewed the Motion and having heard the statements in

support of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court

having determined that the legal and factual bases set forth in the Motion and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

         1.    The Motion is GRANTED on an interim basis as set forth therein.

         2.    Until such time as this Court enters a final order on the Motion or the Court orders

otherwise, all Utility Providers are prohibited from altering, refusing, or discontinuing services on

account of any unpaid prepetition charges, the commencement of these chapter 11 cases, or any

perceived inadequacy of the Proposed Adequate Assurance.

         3.    The following Adequate Assurance Procedures are hereby approved on an interim

basis:


               a.      The Debtors will serve a copy of this Motion and the Interim Order granting
                       the relief requested herein to each Utility Provider within two business days
                       after entry of the Interim Order by the Court.

               b.      Subject to paragraphs (e)–(i) herein, to the extent not already deposited into
                       the Adequate Assurance Accounts, the Debtors will deposit the Adequate
                       Assurance Deposit, in the aggregate amount of $22,000, in the Adequate
                       Assurance Account within ten business days after entry of the Interim
                       Order.

               c.      Each Utility Provider, for Utility Services, shall be entitled to the funds in
                       the Adequate Assurance Account equal to or approximately one-half of the
                       Utility Providers’ “average monthly bill” as reflected in the Utility Service
                       List.

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d.   For any Utility Provider that is subsequently added to the Utility Services
     List, the Debtors shall serve such Utility Provider with a copy of the Court’s
     order regarding Utility Services, including the Adequate Assurance
     Procedures, and increase the Adequate Assurance Deposit by an amount
     equal to two weeks of the Debtors’ average cost of services from the
     subsequently added Utility Provider.

e.   If an amount relating to Utility Services provided postpetition by a Utility
     Provider is unpaid, and remains unpaid beyond any applicable grace period,
     such Utility Provider may request a disbursement from the Adequate
     Assurance Account by giving notice to: (i) proposed counsel to the Debtors,
     Raines Feldman LLP, 1350 Avenue of the Americas, 22nd Floor, New York,
     NY 10019-4801, Attn: Hamid R. Rafatjoo (hrafatjoo@raineslaw.com) and
     Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor,
     P.O. Box 8705, Wilmington, DE 19899-8705, Attn: Laura Davis Jones
     (ljones@pszjlaw.com); (ii) counsel to any statutory committee appointed in
     these cases; and (iii) those parties requesting notice pursuant to Bankruptcy
     Rule 2002 (collectively, the “Notice Parties”). The Debtors shall honor
     such request within five business days after the date the request is received
     by the Debtors, subject to the ability of the Debtors and any such requesting
     Utility Provider to resolve any dispute regarding such request without
     further order of the Court after consultation with counsel to the agents under
     the Debtors’ postpetition financing facility. To the extent a Utility Provider
     receives a disbursement from the Adequate Assurance Account, the Debtors
     shall replenish the Adequate Assurance Account in the amount disbursed.

f.   Any Utility Provider desiring additional assurances of payment in the form
     of deposits, prepayments, or otherwise must serve a request for additional
     assurance (an “Additional Assurance Request”) on the Notice Parties.

g.   Any Utility Provider that objects to the Debtors’ Proposed Adequate
     Assurance must serve an Additional Assurance Request on the Notice
     Parties.

h.   Any Additional Assurance Request must: (i) be in writing; (ii) identify the
     location for which the Utility Services are provided; (iii) include the alleged
     outstanding balance for the affected account(s); (iv) certify the amount that
     is equal to one-half the average monthly cost of the Utility Services the
     Utility Provider supplies to the Debtors over the prior 12 months; (v) certify
     that the Utility Provider does not already hold a deposit equal to or greater
     than one-half the monthly cost of Utility Services; (vi) provide evidence
     that the Debtors have a direct obligation to the Utility Provider; and (vii)
     explain why the Utility Provider believes the Proposed Adequate Assurance
     is not sufficient adequate assurance of future payment.

i.   Any Utility Provider who does not file an Additional Assurance Request
     shall be: (i) deemed to have received adequate assurance of payment

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                     “satisfactory” to such Utility Provider in compliance with section 366 of the
                     Bankruptcy Code; and (ii) forbidden to discontinue, alter, or refuse services
                     to, or discriminate against, the Debtors on account of any unpaid prepetition
                     charges, or require additional assurance of payment other than the Proposed
                     Adequate Assurance.

              j.     Upon the Debtors’ receipt of an Additional Assurance Request, the Debtors
                     shall have 21 calendar days from the receipt of the Additional Assurance
                     Request (the “Resolution Period”) to negotiate with the Utility Provider to
                     resolve the Utility Provider’s Additional Assurance Request.

              k.     Without further order of the Court, the Debtors may enter into agreements
                     granting additional adequate assurance to a Utility Provider serving an
                     Additional Assurance Request if the Debtors determine that the Additional
                     Assurance Request is reasonable.

              l.     If the Debtors determine that the Additional Assurance Request is not
                     reasonable and the Debtors are unable to reach an alternative resolution with
                     the Utility Provider, the Debtors, during or immediately after the Resolution
                     Period, will request a hearing (a “Determination Hearing”) before the Court
                     at the next scheduled omnibus hearing to determine the adequacy of
                     assurance of payment with respect to that Utility Provider pursuant to
                     section 366(c)(3) of the Bankruptcy Code.

              m.     Pending resolution of such dispute at a Determination Hearing, the relevant
                     Utility Provider shall be prohibited from altering, refusing, or discontinuing
                     service to the Debtors.

              n.     The Adequate Assurance Deposit deposited into the Adequate Assurance
                     Account on behalf of any Utility Provider (including any additional amount
                     deposited upon request of any applicable Utility Provider), or any portion
                     thereof, shall be returned to the Debtors, less any amounts owed on account
                     of unpaid, postpetition Utility Services, by no later than five business days
                     following the earlier of the date upon which (i) a chapter 11 plan becomes
                     effective after being confirmed in these chapter 11 cases or (ii) the Debtors
                     provide notice to a Utility Provider that services provided to the Debtors by
                     such Utility Provider will no longer be needed or will be reduced.



       4.     The Utility Providers are prohibited from requiring additional adequate assurance

of payment other than pursuant to the Adequate Assurance Procedures.




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       5.      The Debtors will cause a copy of this Interim Order, including the Adequate

Assurance Procedures, to be served on any subsequently identified Utility Provider and any such

Utility Provider shall be bound by the Adequate Assurance Procedures.

       6.      Any landlord that pays directly for Utility Services for the benefit of the Debtors

pursuant to a nonresidential real property lease must continue paying for such Utility Services in

the ordinary course of business and may not cease, reduce, delay, or otherwise interfere with the

payment or delivery of such Utility Services, regardless of any nonpayment, deferral, or waiver of

rent, or any defaults with respect to the applicable lease; provided that a landlord may cease

payments on account of Utility Services following the effective date of the rejection of the

applicable lease pursuant to section 365 of the Bankruptcy Code, if any.

       7.      Upon the Debtors’ discontinuation of Utility Services, the Debtors may, in their

discretion and without further order of this Court, reduce the Adequate Assurance Deposit by an

amount not exceeding, for each of the Utility Services being discontinued, the lesser of (i) the

estimated two-week utility expense for such Utility Services and (ii) the amount of the Adequate

Assurance Deposit then attributable to the applicable Utility Provider; provided that for any Utility

Provider for which the Adequate Assurance Deposit is reduced, the Debtors shall have (i) provided

such Utility Provider with fourteen (14) days’ notice of such reduction and (ii) paid such Utility

Provider in full for any outstanding postpetition Utility Services before reducing the Adequate

Assurance Deposit.

       8.      Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity, priority or amount of any particular claim against a Debtor entity; (b) a waiver of the

Debtors’ or any other party in interest’s right to dispute any particular claim on any grounds; (c) a



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promise or requirement to pay any particular claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Interim Order or the Motion; (e) a request

or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver or limitation of the Debtors’ or any other party in interest’s rights

under the Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any

other party in interest that any liens (contractual, common law, statutory, or otherwise) satisfied

pursuant to this Interim Order are valid and the Debtors and all other parties in interest expressly

reserve their rights to contest the extent, validity, or perfection or to seek avoidance of all such

liens. Any payment made pursuant to this Interim Order should not be construed as an admission

as to the validity, priority or amount of any particular claim or a waiver of the Debtors’ or any

other party in interest’s rights to subsequently dispute such claim.

       9.      The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       10.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       11.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       12.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       13.     A final hearing to consider the relief requested on the Motion shall be held on

__________ ___, 2022 at ___:___ (Eastern Time). Any objections or responses to the Motion

shall be filed and served so as to be actually received on or before _________ ___, 2022 at 4:00




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p.m. (Eastern Time). If no objections are filed, the Court may enter a final order granting the relief

requested in the Motion without further hearing.

       14.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation, interpretation, and enforcement of this Interim Order.




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